Case 2:24-cv-01003-RFB-NJK Document 2 Filed 05/28/24 Page 1 of 2

AO 440 (Rev. 06/12) Summons in a Civil Action

UNITED STATES DISTRICT COURT

for the
District of Nevada

BRANDON CALLIER

Plaintiffis)

Vv. Civil Action Nox

ALEX GOLD HOLDINGS, LLC, a/k/a ALEX GOLD 2. AU-cV-|003- pFR -NSY

HOLDINGS L.L.C, and ALEXANDER BYKHOVSKY

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Defendant(s)
SUMMONS IN A CIVIL ACTION

To: (Defendant's name and address) ALEXANDER BYKHOVSKY
1800 Calle McLeary Avenue, Apartment 402
San Juan, Puerto Rico 00911

A lawsuit has been filed against you.

Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff's attorney,
whose name and address are: Brandon Callier

1490A George Dieter Dr. #174
El Paso, TX 79936
Callier74@gmail.com
915-383-4604

If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.

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Date: 05/2@/2024 |

‘Clerk or Deputy Clerk

Case 2:24-cv-01003-RFB-NJK Document 2 Filed 05/28/24 Page 2 of 2

AO 440 (Rev. 06/12) Summons in a Civil Action _

UNITED STATES DISTRICT COURT

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District of Nevada | MAY 2 24

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BRANDON CALLIER |

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Plaintiff(s) )

v. Civil Action No. 2° 4 -(V- (003- RFB-NSK

ALEX GOLD HOLDINGS, LLC, a/k/a ALEX GOLD )
HOLDINGS L.L.C, and ALEXANDER BYKHOVSKY )
)
)
Defendant(s) )

SUMMONS IN A CIVIL ACTION

To: (Defendant's name and address) ALEX GOLD HOLDINGS, LLC, a/k/a ALEX GOLD HOLDINGS L.L.C
c/o Alexander Bykhovsky
3555 Pecos McLeod Interconnect
Las Vegas, NV 89121

A lawsuit has been filed against you.

Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
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1490A George Dieter Dr. #174
El Paso, TX 79936
Callier74@gmail.com

If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.

Date: 05/29/2024 OU

# Deputy Clerk

